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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  SYMBOLOGY INNOVATIONS, LLC,
          Plaintiff,
                                                         Case No. 2:23-cv-00268-JRG
               v.
                                                         PATENT CASE
  THE AARON’S COMPANY, INC.
  d/b/a BRANDSMART U.S.A., INC.,                         JURY TRIAL DEMANDED
            Defendant.




                         NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Symbology

Innovations, LLC respectfully submits this notice of voluntary dismissal with prejudice of

Defendant The Aaron’s Company, Inc. d/b/a Brandsmart U.S.A., Inc.


Dated: August 25, 2023                             Respectfully Submitted,

                                                   /s/ René A. Vazquez
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                                                   COUNSEL FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE
       I hereby certify that, on August 25, 2023, I electronically transmitted the foregoing

document using the CM/ECF system for filing, which will transmit the document electronically

to all registered participants as identified on the Notice of Electronic Filing, and paper copies

have been served on those indicated as non-registered participants.


                                                     /s/ René A. Vazquez
                                                     René A. Vazquez
